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 Waiver of Indictment FRC:dp



                               UNITED STATES DISTRICT COURT

                                             FOR THE

                           EASTERN DISTRICT OF PE1'.1NSYL VANIA



 UNITED STATES OF AMERICA

                V.                                           CRIMINAL NO.

 GEORGE PELTZ



                GEORGE PELTZ, the above named defendant, who is accused of

26 U.S.C. § 7201 (tax evasion - I count); 26 U.S.C. § 7202 (failing to pay over payroll taxes --

 1 count); 18 U.S.C. § 664 (theft from employee benefit plans -- I count);

29 G.S.C. § l 86(a)(2) & (d)(2) (unlawful payments to a union official - 1 count)

being advised of the nature of the charge and his rights, hereby waives in open court prosecution

by indictment and consents that the proceeding may be by information instead of by indictment.




Date
                                                      ARR Y GROSS, ESQUIRE
                                                     JOSEPH A. RILLOTTA;ESQUIRE
                                                     Counsel for Defendant
